  Case: 2:94-cr-00161-JLG Doc #: 433 Filed: 08/03/20 Page: 1 of 2 PAGEID #: 60



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America

     v.                                     Case No. 2:94-cr-161-2

Anthony Hewston
                                    ORDER
     Defendant has filed a motion requesting expungement of his
1994 convictions for money laundering. There is no general federal
statute authorizing the expungement of records.             The Sixth Circuit
has held that “it is within the inherent equitable powers of a
federal court to order the expungement of criminal records in an
appropriate case.”      United States v. Doe, 556 F.2d 391, 393 (6th
Cir. 1977).    However, in United States v. Lucido, 612 F.3d 871,
873-74 (6th Cir. 2010), the Sixth Circuit concluded that the
district court had no authority to rule on an expungement motion
based on its original authority over the defendant’s criminal cases
under 18 U.S.C. §3231 or any other federal statute. The court also
concluded, citing Kokkonen v. Guardian Life Insurance Co. of
America, 511 U.S. 375 (1994), that the district court did not have
ancillary jurisdiction to rule on the motion because the motion did
not involve “factually interdependent” claims or managing the
criminal cases, vindicating the court’s power over the cases, or
effectuating any orders in the cases.           Id. at 874-75 (noting that
defendant’s good conduct since his acquittals, his successful
investment business and his difficulty attracting clients due to
the records of the indictments had nothing to do with the facts
underlying his original criminal cases).             See also United States
v. Field, 756 F.3d 911, 916 (6th Cir. 2014)(courts lack ancillary
jurisdiction over motions for expungement based on purely equitable
  Case: 2:94-cr-00161-JLG Doc #: 433 Filed: 08/03/20 Page: 2 of 2 PAGEID #: 61



considerations).
     The expungement of records in this case is not necessary “to
permit disposition by a single court of claims that are, in varying
respects and degrees, factually interdependent” or “to enable a
court to function successfully, that is, to manage its proceedings,
vindicate its authority, and effectuate its decrees.”                  Kokkonen,
511 U.S. at 379-80.        This    court     concludes       that it has no
jurisdiction over defendant’s request for expungement.                 Even if it
is assumed that the court has inherent authority to consider
defendant’s    motion,      defendant      has    failed     to    demonstrate
extraordinary circumstances which would justify the expungement of
the criminal records in this case.         See United States v. Robinson,
79 F.3d 1149 (table), 1996 WL 107129 at *1-2 (6th Cir. March 8,
1996).
     Defendant’s     application     for   the   expungement      of    his   1994
convictions is denied.


Date: August 3, 2020                    s\James L. Graham
                                  James L. Graham
                                  United States District Judge




                                       2
